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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 0 229
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Plaintiffs, ) §sz Q,\'
) ‘/ '
vs. ) No. 04-1276-'r/An
)
GRANGE MUTUAL CASUALTY )
coMPANY, )
)
Defendant. )

 

ORDER ON MOTION TO DISMISS

 

On November 8, 2001, the plaintiffs, Ozella Wadley and Joseph Wadley, filed an
action in the Circuit Court of Henderson County, Tennessee, against Grange Mutual
Casualty Company, seeking recovery under a homeowners insurance policy for losses
sustained as a result ofa fire Which destroyed their home. The defendant removed the action
to this Court on December 19, 2001, and the case Was assigned docket no. 01-1377. The
parties subsequently consented for the case to be transferred to then-Magistrate Judge J.
Daniel Breen for final disposition.

On October 3, 2003, the plaintiffs moved for Voluntary dismissal of the action
without prejudice, pursuant to Fed. R. Civ. P. 41. Judge Breen granted the motion for

voluntary dismissal on October 21, 2003 on the condition that, if the case Was re-i`lled,

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plaintiffs pay certain costs incurred by the defendant. Specifically, plaintiffs were instructed
that if the case was re-filed they must first reimburse defendant for the $150.00 filing fee
incurred in removing the original action to this Court, plus any subpoena fees defendant was
unable to recover due to the motion for voluntary dismissal having been filed only three days
before the case was scheduled for trial.

Plaintiffs re-filed their action in this Court on October 20, 2004. Defendant has
moved to dismiss, asserting that plaintiffs have not reimbursed defendant for its costs as
previously ordered by Judge Breen. Plaintiffs have not responded to the motion to dismiss.

Notwithstanding their failure to respond to the motion to dismiss, the Court finds that
plaintiffs should be given another opportunity to comply with Judge Breen’s order.
Accordingly, the defendant is hereby directed to file, within eleven days after the entry of
this order, an itemization of the costs incurred. Within eleven days after the filing of that
itemization, plaintiffs must file either an objection or proof that the costs have been paid.
Failure to do so will result in the immediate dismissal of this action without further notice.

IT IS SO ORDER_ED.

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JAM B. 'roDD
UNI DSTATES DISTRICTJUDGE

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DATE '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case l:04-CV-01276 was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

